
PER CURIAM
*1252Respondent pleaded guilty to failure to file a tax return and, in connection with her guilty plea, admitted that she engaged in acts which constitute the felony crimes of tax evasion and filing false tax returns. Following the filing of formal charges, respondent and the Office of Disciplinary Counsel submitted a joint petition for consent discipline. Having reviewed the petition,
IT IS ORDERED that the Petition for Consent Discipline be accepted and that Lucretia Patrice Pecantte, Louisiana Bar Roll number 23545, be and she hereby is suspended from the practice of law for a period of two years, retroactive to September 22, 2017, the date of her interim suspension.
IT IS FURTHER ORDERED that all costs and expenses in the matter are assessed against respondent in accordance with Supreme Court Rule XIX, § 10.1, with legal interest to commence thirty days from the date of finality of this court's judgment until paid.
